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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
 UMG RECORDINGS, INC., et al.,                     §
                                                   §
 V.                                                §     CAUSE NO. A-17-CA-365-LY
                                                   §
 GRANDE COMMUNICATIONS                             §
 NETWORKS, LLC, and PATRIOT                        §
 MEDIA CONSULTING, LLC                             §

                          REPORT AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE

TO:    THE HONORABLE LEE YEAKEL
       UNITED STATES DISTRICT JUDGE

       Before the Court are: UMG Recording, Inc., et al’s Motion for Leave to File Plaintiffs' First

Amended Complaint (Dkt. No. 85); Grande’s Response (Dkt. No. 91); and Plaintiffs’ Reply (Dkt.

No. 93). The District Court referred the above motion to the undersigned Magistrate Judge for a

report and recommendation pursuant to 28 U.S.C. §636(b) and Rule 1(c) of Appendix C of the Local

Rules. The Court held a hearing on this motion on August 16, 2018.

                                        I. BACKGROUND

       Plaintiffs are record companies that produce and distribute commercial sound recordings in

the United States. They seek damages and injunctive relief for alleged infringements of copyrights

they own or have exclusive rights to. Grande is an internet service provider, with subscribers in parts

of Texas. Plaintiffs allege that Grande has received, through Plaintiffs’ agent Rightscorp, over a

million notices of direct copyright infringement allegedly committed by Grande subscribers.

Plaintiffs contend that these subscribers have directly infringed on their copyrights by using peer-to-

peer file sharing applications like BitTorrent to pirate copies of Plaintiffs’ copyrighted materials.

Plaintiffs further contend that Grande is secondarily liable for these alleged infringers’ activities
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because it continued to provide them with internet access after receiving the more than one million

notices of infringement. Finally, Patriot is a management consulting firm which, by contract,

provides all of Grande’s senior management officers. Plaintiffs allege that Patriot is also liable for

secondary infringement, because it has “formulat[ed] and implement[ed]the [Grande] business

policies, procedures, and practices that provide repeat infringers with continued internet service

through Grande.”

       Defendants previously moved to dismiss the claims against them. In a Report and

Recommendation filed February 28, 2018 (Dkt. No. 72), the undersigned recommended that the

vicarious copyright infringement claim against Grande and all claims against Patriot be dismissed.

Judge Yeakel adopted that recommendation on March 27, 2018. (Dkt. No. 77). Plaintiffs now

request leave to amend their Complaint to add back into the case the vicarious copyright

infringement claim against Grande and all of their claims against Patriot. In sum, they assert that

based on discovery received since the dismissal, they can now state plausible claims for the causes

of action previously dismissed. It is, as Plaintiffs admit, essentially a Motion for Reconsideration of

the dismissal order. Grande responds that Plaintiffs are just trying to re-litigate the claims already

lost, and the assertion that newly discovered facts support their claims is faulty as these “new facts”

are not new, and were already pled in the dismissed complaint.

                                     II. LEGAL STANDARD

       Plaintiffs move to amend their complaint pursuant to Rule 15 based on “newly discovered

evidence,” but in reality are moving the Court to reconsider its prior order dismissing certain claims.

Grande argues that allowing Plaintiffs to amend would be futile, as the “new evidence” does not fill

in the holes in the prior complaint, and would just lead to another round of motions ending in the


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same result. Additionally, Grande asserts that it has conducted a large portion of its discovery under

the presumption that vicarious liability is not at issue in this case, and would be greatly prejudiced

by reintroducing the issue at this point. It also points out that the claims against Patriot were

dismissed with prejudice and that Patriot has not participated in discovery.

       Depending on the circumstances, a motion seeking reconsideration is governed by one of

three rules: Rule 54(b), 59(e), or 60(b). “The Fifth Circuit recently explained that ‘Rule 59(e)

governs motions to alter or amend a final judgment,’ while ‘Rule 54(b) allows parties to seek

reconsideration of interlocutory orders and authorizes the district court to revise at any time any

order or other decision that does not end the action.’” Dolores Lozano v. Baylor Univ., 2018 WL

3552351, at *1 (W.D. Tex. July 24, 2018) (quoting Austin v. Kroger Tex., L.P., 864 F.3d 326, 336

(5th Cir. 2017) ). Further, “‘[i]nterlocutory orders,’ such as grants of partial summary judgment, ‘are

not within the provisions of 60(b), but are left within the plenary power of the court that rendered

them to afford such relief from them as justice requires [pursuant to Rule 54(b) ].” McKay v.

Novartis Pharm. Corp., 751 F.3d 694, 701 (5th Cir. 2014) (quoting Zimzores v. Veterans Admin.,

778 F.2d 264, 266 (5th Cir. 1985)).

       Under Rule 54(b), applicable in this case, a court may revise an interlocutory order at any

time before judgment. FED. R. CIV. P. 54(b). Rule 54(b) contains a less exacting standard than Rule

59. See Neaville v. Wells Fargo Bank, N.A., 2013 WL 121245900 at *2 (N.D. Tex. June 4, 2013)

(applying Rule 54(b) because the court’s order granting in part and denying in part the defendant’s

motion for summary judgment was interlocutory). Nevertheless, “motions for reconsideration are

only appropriate for the narrow purpose to correct manifest errors of law or fact or to present newly

discovered evidence.” Id.


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                                           III. ANALYSIS

        Plaintiffs assert that based upon facts learned in discovery, they should be allowed to add

back in previously dismissed claims. In their words,

        based upon recent discovery, Plaintiffs can now plead additional facts further
        showing that Grande and Patriot (1) had the right and ability to control their
        infringing subscribers, yet (2) knowingly refused to do so, and thereby (3) directly
        benefitted from the infringing subscribers. Specifically, the evidence shows that
        during the relevant time period, Grande and Patriot tracked Grande’s infringing
        customers (who overwhelmingly are among Grande’s most profitable customers), did
        not terminate a single one for copyright infringement, and continued to accept
        payment from them even after Grande received dozens and, is some cases, hundreds
        of notices for a given subscriber.

Dkt. No. 85 at 1-2. Plaintiffs further allege that new evidence establishes that Patriot owns an equity

interest in Grande and that Patriot controlled Grande’s policies, including the policy of not

terminating known infringers. Id.

        With regard to the dismissal of the vicarious infringement claims, the undersigned’s Report

and Recommendation stated that Plaintiffs had failed to establish the “direct financial interest”

element, because Plaintiffs had failed to plead that “the infringing activity constitutes a draw for

subscribers, not just an added benefit.” Dkt. No. 72 at 18. The Court found that to state a claim

Plaintiffs would have had to plead facts showing customers signed up with Grande because Grande

did not police infringing conduct by its subscribers. Plaintiffs assert that additional discovery bolsters

their prior pleadings as it shows that Grande refused to terminate a single user for copyright

infringement from at least 2011 through 2016, “while continuing to profit from the fees paid by

using infringers.” Dkt. No. 85 at 5. Notably, the original Complaint contained the following

allegations:




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       Grande has had actual and ongoing specific knowledge of the repeat infringements
       by its subscribers of the Copyrighted Sound Recordings occurring through the use of
       its service for years. . . . Nonetheless, Defendants have refused to take any
       meaningful action to discourage this wrongful conduct, let alone suspend or
       terminate the accounts of repeat infringers. The reason that Defendants have not done
       so is obvious – it would cause Grande to lose revenue from the subscription fees that
       these infringing customers pay to Grande.

Dkt. No. 1 at ¶¶ 50-51.

       The new evidence Plaintiffs rely on is: (1) Grande tracks its infringing customers; (2) these

customers are “a la carte” internet customers; (3) Grande’s profit margins on a la carte customers are

its highest of any business lines; and (4) Grande never terminated any user regardless of how many

notices of infringement it received. Dkt. No. 85 at 5. Plaintiffs contend that these facts make a

difference, and are enough to suggest that Grande’s failure to terminate infringers is a draw. Dkt. No.

85-4 at ¶ 64, 67-68. The Court disagrees. First, the original Complaint alleged essentially the same

or similar facts. Second, the new allegations still fail to say anything about the motivations of

Grande’s subscribers when they sign up with Grande. That is, Plaintiffs still fail to plead facts

showing Grande gained or lost customers because of its failure to terminate infringers. Instead, the

proposed amended complaint states that, “the evidence demonstrates that Plaintiffs’ Copyrighted

Sound Recordings were a draw to Grande’s infringing customers, including customers Grande had

identified as repeat infringers.” Dkt. No. 85-4 at 16. But as has been noted in prior orders, the means

by which Plaintiffs contend the infringing subscribers infringed the Copyrighted Sound Recordings

by use of the internet and the BitTorrent protocol, which one can access through any ISP. Again,

the draw must be something more than this to state a vicarious infringement claim. The allegedly

“new” facts are insufficient to overcome the deficiencies of the original Complaint.




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       With regard to Patriot, Plaintiffs rely on evidence acquired in discovery showing that Patriot

has an ownership interest in Grande and that Patriot employees advise Grande or “make policy” on

Grande’s DMCA and other infringement policies. In originally recommending dismissal of these

claims, the undersigned stated:

       The problem with UMG’s argument is that nowhere does the Complaint allege that
       Patriot itself, as an entity, was involved in the decisions or actions on which UMG
       bases its claim. Instead, it only alleges that employees of Patriot, who were also
       employees of Grande, may have assisted in formulating Grande’s policies in dealing
       with the underlying infringement at issue here. This is a far cry from showing that
       Patriot as an entity was an active participant in the alleged secondary infringement.
       UMG concedes that Grande is a valid legal entity. Thus, whatever decisions Grande
       made that might impose liability on it, they were made by Grande, not Patriot.
       UMG’s claims against Patriot are a very poorly disguised attempt to ignore Grande’s
       corporate form, and to impose liability on Patriot solely because it provides services
       to Grande. The relationship between the alleged direct infringers and Patriot is too
       attenuated to support a claim against Patriot.

Dkt. No. 72 at 20-21. This is still the problem with Plaintiffs’ proposed amended complaint. The

relevant language of the original Complaint was:

       during the relevant period, Patriot was responsible for management of Grande,
       including performing executive, legal and compliance responsibilities.

Dkt. No. 1 at ¶ 75. The new language, which allegedly cures the defects identified by the Court, is:

       Patriot performs the functions of Grande’s CEO, CFO, and COO; develops Grande’s
       overall business strategy; and handles various marketing, legal, regulatory, and other
       functions for Grande. In particular, Patriot sets Grande’s policies, including policies
       relating to copyright infringement.

Dkt. No. 85-4 at 10. Though there is more detail in the proposed amendment, these allegations are

“more of the same” when compared to the original complaint. Nothing in the new allegations




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changes the fact that Grande is the entity that provided internet access to the subscribers, and Grande

(albeit with employees provided by Patriot) made the decisions of which Plaintiffs complain.1

       In their Motion to Amend Plaintiffs seek to re-litigate issues already decided by this Court.

The Court presumed all Plaintiffs’ factual allegations to be true when it analyzed the Motions to

Dismiss. The newly discovered facts only bolster what was already alleged, and do not make any

material changes to the pleadings already found to be insufficient.

                                   IV. RECOMMENDATION

       The undersigned RECOMMENDS that the district judge DENY UMG Recording, Inc., et

al’s Motion for Leave to File Plaintiffs’ First Amended Complaint (Dkt. No. 85).2

                                          V. WARNINGS

       The parties may file objections to this Report and Recommendation. A party filing objections

must specifically identify those findings or recommendations to which objections are being made.

The District Court need not consider frivolous, conclusive, or general objections. See Battle v.

United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the Report

shall bar that party from de novo review by the District Court of the proposed findings and


       1
         With regard to Patriot having an ownership interest in Grande, Grande acknowledged that
Patriot’s counsel mistakenly represented that Patriot did not have an ownership interest in Grande.
This too makes no difference to the pending motion. A minority ownership interest in an entity does
not make one liable for acts of the entity, and Plaintiffs still fall far short of stating a claim to
disregard the Grande corporate form.
       2
       Plaintiffs also sought leave to file exhibits to the First Amended Complaint under seal. Dkt.
No. 82. If this recommendation is adopted, this motion should be denied as moot, as the First
Amended Complaint will not be filed.

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recommendations in the Report and, except upon grounds of plain error, shall bar the party from

appellate review of unobjected-to proposed factual findings and legal conclusions accepted by the

District Court. See 28 U.S.C. § 636(b)(1)(c); Thomas v. Arn, 474 U.S. 140, 150-53 (1985); Douglass

v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

       SIGNED this 20th day of September, 2018.



                                           _____________________________________
                                           ANDREW W. AUSTIN
                                           UNITED STATES MAGISTRATE JUDGE




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